Case 1:24-cv-00254-CJN Document 1-1 Filed 01/29/24 Page 1 of 36




                Exhibit 1
                 Case 1:24-cv-00254-CJN Document 1-1 Filed 01/29/24 Page 2 of 36
                                          ER.IKB. CHERDAK
                                                149 l'HuRGOOD STREET
                                           GAITHERSBURG, MARYLAND 20878
                                                  PH. 202.330.1994
                                               EBCHERDAK@GMAIL.COM

                                                 January 26, 2024

                                            TRANSMITIAL LETTER

TO:    The Clerk's Office
       Superior Court of the District of Columbia
       Civil Division
       510 4th Street, NW
       Washington DC 20001

RE:    NEW CASE: Erik Benjamin Cherdak v. McDernwtt, Will & Emery LLP, Case No.: TBD

       Please find enclosed for official, ELECTRONIC filing in this Honorable Court the following documents
for which EMERGENCY INJUNCTIVE RELIEF is being sought by motion:

        1. A Complaint with Exhibits 1, 2 and 3;

       2. A Summons as to the single, above-named Defendant;

       3. A Civil Case Information Sheet; and

       4. A Combined MOTION and BRIEF IN SUPPORT for a Temporary Restraining Order with Exhibit 1
          and a Proposed Order attached thereto.

       All fees have been PAID using the Court' s payment system ($120.00).

         The undersigned, Plaintiff pro se, has communicated with JIC Law Clerk Mr. Paul Thom prior to making
this filing. An EMERGENCY MOTION for TRO to avoid immediate and irreparable harm has been filed (Item
No. 4 above). Please report this filing with all due dispatch and on an EMERGENCY BASIS to JIC ofthis Court
and to the Judge-In-Chambers law clerks so that this matter may be heard as soon as possible. Actions threatened
by the Defendant will bring about immediate and irreparable harm and this matter should be heard on or before
Wednesday, January 31, 2024. Plaintiffhas been informed that a virtual hearing will be set in to address Plaintiff's
Emergency Motion. Counsel for the Defendant has been served with all of the above papers and Plaintiff is
keeping Defense Counsel apprised as to all events and actions of the Court so as to facilitate an inter-parties
evaluation/hearing on Plaintiff's Emergency Motion should the Court not act ex parte on Plaintiff's Verified
Papers. See D .C. R. Civ. P. Rule 65. Please and kindly advise Plaintiff at 202.330.1994 should the Court require
any additional information in setting in a virtual hearing or otherwise. Contact information for Defense Counsel
is found on the first page and elsewhere in Plaintiff's Moiton for the Court's information.




Cc:    Mr. J. Christian Nemath (via email as agreed between the parties)
                Case 1:24-cv-00254-CJN Document 1-1 Filed 01/29/24 Page 3 of 36


          Superior Court of the District of Columbia
                                            CIVIL DMSION - CIVIL ACTIONS BRANCH
                                                     INFORMATION SHEET
      Erik B. Cherdak                                          Case Number: _ _ _ _ _ _ _ _ _ _ _ _ __
                             Plaintiff(s)
                                 vs                            Date: January 25, 2024

      McDermott, Will & Emery LLP
                            Defendant(s)
                                                               D     One of the defendants is being sued
                                                                     in their official capacity.
      Name: (Please Print)                                                    Relationship to Lawsuit
     Erik B. Cherdak
      Firm Name:                                                                   0 Attorney for Plaintiff
                                                                                   ~ Self(Pro Se)
      Telephone No.:                DCBarNo.:
    202.330.1994                                                                   0 Other:
     TYPE OF CASE: ~ Non-Jury                      D 6 Person Jury                 0 12 Person Jury
     Demand: $--NIA-- at this time.                                     Other: TAO, Injunctive Relief, Equity
     PENDING CASE(S) RELATED TO THE ACTION BEING FILED
     Case No.:. _ _ __ _ __ __     Judge: _ _ _ _ _ __                           Calendar #:._ _ _ _ _ _ _ __

     Case No.:_ _ _ __ _ __ _                    Judge: _ _ __ _ __              Calendar #:._ _ __ __ _ __

NATURE OF SUIT:             (Check One Box Onlv)
CONTRACT                                COLLECTION/INS. SUB                            EMPLOYMENT DISPUTE
0 Breach of Contract         0 Debt Collection                                0 Breach of Contract
D Breach of Warranty         0 Insurance Subrogation                          0 Discrimination
D Condo/Homeowner Assn. Fees 0 Motion/Application for Judgment by Confession □ Wage Claim
D Contract Enforcement       0 Motion/Application Regarding Arbitration Award 0 Whistle Blower
D Negotiable Instrument                                                              D Wrongful Tennination
REAL PROPERTY                                                              0 FRIENDLY SUIT
D Condo/Homeowner Assn. Foredosure D Ejectment      D Other                0 HOUSING CODE REGULATIONS
D Declaratory Judgment             0 Eminent Domain D Quiet TitJe          O QUITAM
0 Drug Related Nuisance Abatement 0 lnterpleader    D Specific Performance OSTRUCTURED SEITLEMENTS
ADMINISTRATIVE PROCEEDINGS                                                                  AGENCY APPEAL
0 Administrative Search Warrant                         D Release Mechanics Lien 0 Dangerous Animal Determination
D App. for Entry of Jgt Defaulted Compensation Benefits O Request for Subpoena   0 DCPS Residency Appeal
D Enter Administrative Order as Judgment                MALPRACTICE              O Merit Personnel Act (OEA)
D Libel of Information                                  0 Medical _ Other        O Merit Personnel Act (OHR)
D Master Met.er                                         0 Wrongful Death         O Other Agency Appeal
0 Petition Other                                     0 APPLICATION FOR INTERNATIONAL FOREIGN JlJDGMENT


     CV-496/Febroary 2023
                  Case 1:24-cv-00254-CJN Document 1-1 Filed 01/29/24 Page 4 of 36

                               Information Sheet, Continued

CIVIL ASSET FORFEITURE                                             TORT
0 Currency                                                         D     Abuse of Process
0 Other                                                            D Assault/Battery
0 Real Property                                                    D Conversion
O vehicle                                                          0 False Arrest/Malicious Prosecution
NAME CHANGENITAL RECORD AMENDMENT                                  D Libel/Slander/Defamation
D Birth Certificate Amendment                                      D Personal Injury
D Death Certificate Amendment                                      D     ToxicMass
D Gender Amendment                                                 D     Wrongful Death (Non-Medical Malpractice)
0 Name Change
GENERAL CIVIL                                      D Product Liability                      STATUTORY CLAIM
0 Accounting                                       D Request for Liquidation                0 Anti - SLAPP
0 Deceit (Misrepresentation)                       O wntofReplevin                          D Consumer Protection Act
0 Fraud                                                                                     D Exploitation of Vulnerable Adult
                                                   O wrongful Eviction
D Invasion of Privacy                              CIVIL I/COMPLEX CIVIL                    D Freedom of lnfonnation Act (FOIA)
0 Lead Paint                                       □Asbestos                                D Other
D Legal Malpractice                                MORTGAGE FORECLOSURE                     TAX SALE FORECLOSURE
D Motion/Application Regarding Arbitration Award   □Non-Residential                         D Tax Sale Annual
DOther • General Civil                             D Residential                            0 Tax Sale Bid Off
VEHICLE
D Personal Injury
                            0 TRAFFIC ADJUDICATION APPEAL
0 Property Damage           0 REQUEST FOR FOREIGN JUDGMENT




                                                                                     /            Date




     CV-496/February 2023
                    Case 1:24-cv-00254-CJN Document 1-1 Filed 01/29/24 Page 5 of 36
                                                Superior Court of the District of Columbia
                                                           CIVIL DIVISION
                                                            Civil Actions Branch
                                       500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                                            Telephone: (202) 879-1133 Website: www.dccourts.gov
     En                  ak, Plaintiff Pro Se
                                                                   Plaintiff
                                          vs.
                                                                                                     Case Number _ _ _ _ _ _ _ _ __
     McDermott, Will & Emery LLP
                                                                   Defendant

                                                                  SUMMONS
  To the above named Defendant:

          You are hereby summoned and required to serve an Answer to the attached Complaint, either
  personally or through an attorney, within twenty one (2 1) days after service of this summons upon you,
  exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
  or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
  Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
  attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
  to the plaintiff at the address stated on this Summons.

          You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
  N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
  the plaintiff or within seven (7) days after you have served the plaintiff If you fail to file an Answer,
  judgment by default may be entered against you for the relief demanded in the complaint.
 Erik B. Cherdak {appearing Pro Se)
                                                                                             Clerk ofthe Court
 Name of Plaintiff's Attorney
 149 Thurgood Street
                                                                               By - -- - - - - - -- - - - - -- -
 Address                                                                                                    Deputy Clerk
 Gaithersburg, Maryland 20878
 202.330.1994
                                                                               Date _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 Telephone
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   IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
 ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
 COMPLAINT. IF nns OCCURS, YOUR WAGES MAY BE ATTACHED OR WITilliELD OR PERSONAL PROPERTY OR
 REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE nns
 ACTION, DONOTFAIL TO ANSWER, WITHIN THEREQUJRED TIME.

    If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
 Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
 Indiana Avenue, N.W., for more information coocemiog places where you may ask for such help.

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CV-3110 [Rev. JUDe 2017]                                                                                                      Super. Ct. Civ. R. 4
                   Case 1:24-cv-00254-CJN Document 1-1 Filed 01/29/24 Page 6 of 36
                                                Superior Court of the District of Columbia
                                                              CIVIL DIVISION
                                                           Civil Actions Branch
                                       S00 Indiana Avenue, N.W., Suite S000 Washington, D.C. 20001
                                            Telephone: (202) 879-1133 Website: www.dccourts.gov
     En                  ak, Plaintiff Pro Se
                                                                    Plaintiff
                                          VS.

                                                                                                      Case Number _ _ _ _ _ _ _ _ __
     McDermott, Will & Emery LLP
                                                                   Defendant

                                                                  SUMMONS
   To the above named Defendant:

          You are hereby summoned and required to serve an Answer to the attached Complaint, either
  personally or through an attorney, within twenty one (21) days after service of this summons upon you,
  exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
  or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
  Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
  attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
  to the plaintiff at the address stated on this Summons.

          You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
  N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
  the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
  judgment by default may be entered against you for the relief demanded in the complaint.
 Erik B. Cherdak (appearing Pro Se)
                                                                                               Clerk of the Court
 Name of Plaintiff's Attorney
 149 Thurgood Street
                                                                                By-----------------
 Address                                                                                                     Deputy Clerk
 Gaithersburg, Maryland 20878
 202.330.1994
                                                                                Date _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 Telephone
 .IIPW■it,ilfJ Et!.i! (202) 879-4828        Veuillez appeler au (202) 879-4828 pour une traduction       mc6 m9t bai djch, hay gQi (202) 879-4828
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   IMPORTANT: IF YOU FAlL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
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    If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
 Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
 Indiana Avenue, N. W., for more information concerning places where you may ask for such help.

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CV-3110 [Rev. June 2017]                                                                                                       Super. Ct. Civ. R. 4
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                                I

            IN THE SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA
                               CIVIL DIVISION
                              AT WASHINGTON

Erik B. Cherdak
149 Thurgood Street                                  Case No. - - - - - - -
Gaithersburg, Maryland 20878
202.330.1994
ebone@me.com,                                             PLEASE RUSH TO:
                                                        JUDGE-IN-CHAMBERS
      Plaintiff,
      v.

McDermott, Will & Emery LLP
The McDermott Building
500 North Capitol Street, NW
Washington, DC 20001-1531202.756.8000
www.mwe.com,

      Defendant.


                     PLAINTIFF'S VERIFIED COMPLAINT
       At the outset and to inform this Honorable Court, this Complaint was prepared
and has been filed with all haste to permit the Plaintiff to seek immediate and emergent
injunctive relief in the form of a Temporary Restraining Order so as to maintain the status
quo in the context of Defendant's threatened, announced and anticipated material breach
of an established employment severance contract binding the parties and under which
Defendant is contractually obligated to arrange, provision, pay for and administer certain
health insurance benefits to the Plaintiff and his family under a group-based health
insurance plan facilitated through Blue Cross Blue Shield of Illinois. Despite Plaintiff's
good faith efforts to bring reason to Defendant's clandestine actions to strip Plaintiff and
his family of their health insurance benefits, Defendant has threatened to terminate
Plaintiff's health insurance for which such threatened action constitutes nothing less than
anticipatory material breach that already has caused and that will continue to cause
irreparable harm for which there is and can be no adequate remedy at law. This Court's
intervention is being urged in a Motion for a Temporary Restraining Order filed
contemporaneously herewith in compliance with D.C. Rule of Civ. P. Rule 65 upon facts
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and circumstances in which Defendant has announced its wrongful intent to breach the
aforementioned and existing contract binding the parties and so as to intentionally and
threaten Plaintiff and to cause irreparable harm and injury for which there is no adequate
remedy at law-especially in view of current circumstances known to Defendant and
concerning Plaintiffs impending surgery, medical care and corresponding medical
treatment already in which Plaintiff has been in the midst of addressing and as already
approved by the underlying insurance carrier (Blue Cross Blue Shiel of illinois) in relation
to Plaintiff's major surgery currently set to take place on February 8, 2024 at Georgetown
University Hospital ("GUH") in Washington, DC for which Plaintiff is expected to need
significant pre- and post-surgical in-patient care. Defendant has threatened its material
breach to terminate Plaintiff's insurance coverage and health care benefits in wholesale
fashion without any concern for Plaintiffs health status.         Defendant's threatened,
unilateral, and anticipatory material breach of the Parties' operative and executory
contract absolutely supports a breach of contract action under District of Columbia law.
       Plaintiff reserves the right to amend this Complaint, to include or withdraw claims
and causes of action, to alter and/ or enhance his ultimate theories of recovery to be urged
at trial on the merits, and to further plead as this case proceeds and upon due and proper
discovery being exchanged between the parties. Plaintiff does not seek a jury trial at this
time and upon this Compliant as originally filed in this Court as he seeks only equitable
injunctive relief at this time.
      Accordingly, in and for this his Complaint, Plaintiff hereby pleads as follows:

                                     THE PARTIES:

1.    Plaintiff is a Maryland Resident having a residency address at 149 Thurgood
Street, Gaithersburg, Maryland 20878. Plaintiff was employed by the Defendant and paid
for and received company-provided and paid-for employment benefits including, and
not limited to, health insurance benefits about which the instant case revolves.
2.    Defendant McDermott, Will & Emery PLLC is a multi-national law firm with a
central and operating principal place of business located in Washington, D.C. at The
McDermott Building, 500 North Capitol Street, NW, Washington, DC 20001-1531 (the
MWE-DC Office") with a telephone number of 202.756.8000 and virtual online website at
www.mwe.com. Defendant's General Counsel, Ms. Linda Doyle, regularly sits in the law
firm's Chicago, illinois but regularly and routinely visits and works out of the DC Office


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at the aforementioned specified address. As to the core of operative facts in this case and,
in particular, in terms of communications regarding the claims and dispute set forth
herein, Plaintiff has engaged in bi-directional communications in which Ms. Doyle has
been a recipient of all such communications and, as such, she is aware and has operated
as the Defendant's general counsel and legal representative in connection with the instant
case. Defendant advertises its Washington, DC office as a central hub for its national and
global operations in representing the law firm's clients by stating: "Our Washington, DC,
office has a long history of growth that allows us to remain a step ahead of emerging
legal, business and regulatory trends and to meet all our clients' ongoing needs. From the
earliest years in the District, we have developed a reputation for providing effective client
representation before government agencies, congressional committees, the executive and
legislative branches, and federal courts."
3.     Together, the Plaintiff and the Defendant shall be referred to herein as the
"Parties." Where context may refer to either the Plaintiff or the Defendant, the singular
term "Party" may be used with no limitation intended.
                             JURISDICTION AND VENUE:

4.    Jurisdiction (including both subject matter and in personam) is all due and proper
as the core of operative facts relates at least to a contract formed and materially breached
by the Defendant in and under the laws of the District of Columbia, respectively;
5.    Venue is proper in this forum, judicial district and Court as Defendant operates its
major office location in the District of Columbia where the contract in-suit was formed,
materially breached, wherein that contract continues to be unreasonably repudiated and
wherein the relief sought contemplates injunctive relief in a matter contemplating
corresponding value of more than the jurisdictional amounts required for subject matter
jurisdiction in this Honorable Court.
                                         FACTS:

      The following facts set forth in the numbered paragraphs below are at the core of
the controversy for which this case was commenced:
6.    Because Plaintiff prepared the instant Complaint on an urgent basis and to seek
emergent injunctive relief pertaining to his underlying claim for breach of contract in
view of Defendant's announced anticipatory material breach of contract of an extant and
executory contract under which Defendant promised to arrange, pay for, provision, and


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administer certain health insurance benefits upon severance of an employment
relationship between Plaintiff and Defendant that terminated in 2017, the facts set forth
herein are intended to provide short and plain statements sufficient to provide notice as
to Plaintiff's case-in-chief, to inform Defendant and the Court of his claims and causes of
action, and to set forth necessary facts and circumstances that will enable the Court to
render emergency, temporary relief to maintain the status quo and to avoid further
infliction of irreparable harm for which no adequate remedy at law exists under the
circumstances as currently known and without the benefit and aid of discovery yet to be
propounded by the Parties;
7.     Initially and in first a written contract entered into 2016 and upon Plaintiff's
commencement of employment with the Defendant in December 2016 and, then later,
during severance negotiations taking place in person in Washington, DC in August 2017,
Plaintiff and Defendant formed a second binding, executory contract under which
Plaintiff fully performed without fault or breach of any kind. Essentially and elementally,
under the Parties' second contract of severance (the contract in-suit), Plaintiff agreed to a
certain severance arrangement in exchange for Defendant's promises and substantial
performance of contractual covenants, obligations and duties related to Defendant
arranging, provisioning, and administering health insurance benefit coverage for Plaintiff
and his immediate family. In August 2017, the Parties' contract of severance became
mutually binding and, accordingly, Defendant provided such health insurance benefits
without fail (with only limited administrative hiccups over the years that were rectified
in the normal course between the Parties and which do not form any basis of Plaintiff's
claims set forth herein). One such health benefit to be provided indefinitely by the
Defendant in exchange for severance-based consideration paid and provided by Plaintiff
to Defendant under the Parties' mutually agreed covenants and contractual obligations
agreed to between the parties in their contract of severance, was Defendant's obligation
to arrange for, provision, and wholly pay for Plaintiff to maintain his health insurance
benefits including, and not limited to, major medical insurance, dental insurance, vision
and eye-care benefits and prescription drug coverage-for which Plaintiff received his
health insurance benefits in part as contracted-for to date.
8.    In accordance with Defendant's established and agreed-upon and recognized
contractual obligations and duties owed to Plaintiff, Plaintiff has consistently
detrimentally relied upon the contract of severance binding the parties and has held and

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used his health insurance plan since August 2017 to date without any interruption caused
by Plaintiff and Plaintiff has fully complied with the terms and conditions imposed on
such health insurance benefits including, but not limited to, maintaining annual check-
ins with the insurance carrier (BCBS of Illinois) and periodic written communications
concerning coverage matters with personnel in Defendant's Human Resources "HR"
department. See Exhibit 1 (Email from Defendant's HR department sent upon request by
Plaintiff). At no time did Defendant or its HR staff ever indicate an intention to cancel or
terminate Plaintiff's health insurance benefits provided per the terms of the Parties'
contract until December 2023.
9.     Plaintiff and his family have been insured under Defendants' administered and
provisioned health insurance plan in accordance with said contract of severance to
provide Plaintiff and his family with such health insurance benefits from August 2017 to
date. Plaintiff and his family members have fully complied with all terms and conditions
of Plaintiffs health insurance benefits and plan and, on many occasions, have been
charged significant expenses for service-based extra costs, large deductibles, etc. in
connection with claims-made under Plaintiffs health insurance benefits and coverage
plan in accordance with BCBS of lliinois guidelines established between Defendant and
BCBS of lliinois without any involvement of the Plaintiff. During formation of the
contract of severance that took place in August 2017, Defendant made an offer of health
insurance benefits, Plaintiff accepted and counter promised on terms of severance, and
consideration (insurance and counter promises and forbearance from suit, releases, etc.
were fully supported and exchanged) were made between the Parties on which Plaintiff
detrimentally relied and on which the Defendant benefitted.
10.   In December 2023 and without any advance notice to the Plaintiff, Defendant acted
in a clandestine way to self-servingly and knowingly arrange for the termination of
Plaintiffs health insurance benefits effective December 31, 2023 in clear violation and
material breach of the Parties' contract of severance. Plaintiff learned of Defendant's
wrongful and clandestine actions from Blue Cross Blue Shield of Illinois in December
2023 without ever receiving any notice from Defendant as administrator for Plaintiff's
health insurance benefits and coverage---BCBS-lliinois being the actual insurance carrier
of the plan as arranged and provisioned by the Defendant. The information provided by
BCBS-IL sought in Plaintiff's own use of his online "Member Portal" was learned by



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Plaintiff for the first time and upon his own review of 2023 claims-made in calendar year
2023 while accessing his online Member Portal.
11.    As he had communicated about his health insurance benefits with Defendant's
Human Resources ("HR") Department on several occasions over the years since 2017 in
regular management of Plaintiff's contemplated health insurance benefits, Plaintiff
reached out to Defendant's head of "HR" (Ms. Sophia Smith) and Plaintiff also was
informed that Defendant would immediately reinstate his insurance benefits-as
Defendant's HR personnel informed Plaintiff that it was a "mistake to terminate
[Plaintiff's] benefits" and "it was wrongful for Defendant to arrange for any termination
of benefits" as they had been promised and provided since 2017 under the terms of the
Parties' contract of severance.
12.    Over the 2023-2024 holiday season spanning December 2023 through January 2024
(to date), Defendant's benefits coordinator located Philadelphia, PA assured Plaintiff that
his and his family's health insurance benefits ·would not be terminated-only for Plaintiff
to later learn again from BCBS-IL that Defendant actually misrepresented its knowingly
false and fraudulent story that it would not terminate Plaintiff's health insurance benefits
and, instead, that Defendant had again arranged to cancel Plaintiff's health insurance
benefits to be effective as of January 31, 2024.
13.    Plaintiff and his family members have relied on Plaintiff's insurance benefits
received under contract between the Parties, have spent significant sums in complete
reliance on those benefits, have participated in diabetes management programs offered
under Plaintiff's health insurance benefits for which Plaintiff is an active member as of
the filing of this Complaint and commencement of the instant action. Such diabetes
management, for example, and other MWE health benefits specifically connected with
Plaintiff's particular health insurance benefits would be abruptly and harmfully
terminated if Defendant is allowed to terminate Plaintiff's health insurance benefits as a
material breach of the Parties' contract of severance. For example, and not by way of
limitation, Plaintiff is a user of the Defendants' health program administered through
OMADA and BCBS-IL to manage diabetes which requires daily and other regular
diabetes care-a vital component of Plaintiff's diabetes management and education
overseen by a personal representative dedicated to Plaintiff concerned with his particular
care. Any termination of Plaintiff's health insurance benefits would cause irreparable
harm Plaintiff and his family to such diabetes management through OMADA and BCBS-

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IL and would not be replaceable under any other insurance program or policy. Diabetics
like Plaintiff greatly benefit from OMAD~'s medical oversight and care management and
coaching and that relationship between OMADA and Plaintiff would be irreparably
harmed and abruptly severed if the Defendant is allowed to abruptly cancel Plaintiffs
health insurance benefits.
14.    As Defendant has been fully informed, Defendant's wrongful actions affecting and
disrupting Plaintiffs health insurance benefits came at a time when Plaintiff is presently
in the midst of significant surgical and related medical care for which Plaintiff relies on
particular benefit features covered by his insurance benefits on which he has
detrimentally relied for years-benefit features that cannot be replicated through any
other health insurance plan either through any health insurance exchange or through any
other employer sponsored program. If Defendant is allowed to carry through with its
announced and anticipatory material breach of contract, Plaintiff will be forced to delay
necessary and required surgery, arrange for lower-quality insurance coverage that does
not cover the needs of the Plaintiff (and his family members) who have detrimentally
relied, budgeted, and has sought and received medical care. If Defendant is allowed to
wrongfully terminate/ cancel Plaintiff's insurance benefits, Plaintiff's medical care to be
continued and carried out between February 8, 2024 through February 15, 2024 will be
interrupted, disrupted and delayed directly and proximately causing Plaintiff to undergo
additional and extensive pain and suffering related to abdominal reparative surgery in
addition to significant disruptions to surgical schedules of the members and
organizations within Plaintiffs care team at Georgetown University Hospital GUH.
Plaintiff is scheduled to undergo major surgery at GUH on February 8, 2024 for which
GUH has already been informed, again without Plaintiff's knowledge, that his health
insurance benefits will be terminated by the Defendant as of January 31, 2024-
information for which Plaintiff never authorized Defendant to disseminate directly to his
health care providers.
15.    Defendant's acts to announce its unjustified and wrongful termination of
Plaintiffs health insurance benefits would operate as anticipatory material breaches of
the Parties' contract of severance formed in August 2017, would work irreparable harm
if not stopped from occurring, would absolutely amount to a clear cut material breach of
contract for which Plaintiff (and his family) are due remedies and the right to receive
emergent injunctive relief at this time. There are no mitigating factors, no rights to breach,

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       Case 1:24-cv-00254-CJN Document 1-1 Filed 01/29/24 Page 14 of 36




and no other defenses such as prior material breach or otherwise on which Defendant
may rely to claim a right to be discharged under the Parties' contract of severance entered
into in August 2017. Plaintiff has fully complied with his contractual obligations;
Defendant has not.
16.    Importantly, Plaintiff's daim(s) and remedies in-suit are borne from Defendant's
material breaches of the Parties' contract of severance. There is no determination of
benefits action/appeal/determination that is under review as the health insurance
benefits contemplated in this case relate to promises to provide such insurance under a
separate contract of severance formed leading up to and in August 2017. This case stems
from breach of contract and material breaches of promises and failures to provide the
consideration the Defendant promised to the Plaintiff in August 2017 regardless of any
argument Defendant may make related to this case being one borne under BRISA or other
law-Defendant are wrong as its promise to provide insurance benefits to Plaintiff (and
his family} came about in arms' length negotiations inter alia based on Plaintiffs
forbearance from suit for wrongful discharge, failure to perform based on undisclosed
and fraudulent concealment of facts necessary for Plaintiff to thrive in Defendant's
organization (e.g., a failure to disclose known conflicts with extant clients) and failure to
provide necessary and promised resources on commencement of employment in 2016.
But for the breach of contract that is the subject of Plaintiffs initial claims urged herein,
there would be no suit just as there are no ERISA or other matters governing this case
and, in particular, no requirement for any administrative remedy exhaustion as this case
concerns the contractual obligation to provision health plan benefits generally and does
not concern a determination for provision of specific medical/health service needs
related to any medical determination made by any medical professional. Defendant
willfully and maliciously acted and plans to further act to unlawfully cancel and
terminate Plaintiffs promised health insurance benefits without just cause and in clear
violation and material breach of the Parties' contract of severance. ERISA does not
require Plaintiff to exhaust any internal or other administrative remedies before filing
suit-such as the instant case. To the contrary, a beneficiary under a particular benefit
seeking a determination or benefits on a substantive level under an ERISA plan must first
exhaust administrative remedies, unless doing so would be futile. See Amato v. Bernard,
618 F.2d 559 (9th Cir. 1980). Courts have made it dear that failure to exhaust acts as a bar
only if the plan documents expressly mandate exhaustion prior to seeking judicial

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review. See e.g., Spinedex Physical Therapy USA, Inc. v. United Healthcare of Ariz., Inc., 770
F.3d 1282, 1298 (9th Cir. 2014). The instant case arises from the mutual promises made in
a valid and binding contract formed between the Parties in August 2017 and not as a
matter arising as a health benefit determination under any particular plan. Put another
way, this case arises as a result of Defendant's breach in failing to provide "a" health
benefits package/ plan to benefit Plaintiff and his family instead of any denial of actual
benefit/ medical coverage urged for payout under such a health benefits package. A letter
in Exhibit 2 hereto demonstrates Defendant's desperate, abusive and fraudulent attempt
to mislead the Plaintiff into a false belief that ERISA somehow applies (and it dearly does
not) so as to force Plaintiff into pursuing wasteful process before the U.S. Government or
to consent to jurisdiction in a federal or state court in Illinois. ERISA does not apply in
this case as, on information and belief, no determination of medical necessity has been
made or is involved in considering Defendants' to provide health insurance, dental and
other benefits as it agreed to provide in forming the Parties' contract of severance effective
and binding as of August 2017 on the mutual promises and consideration flowing and
covenanted by and between the Parties. The letter from Defendant was not received by
Plaintiff until January 16, 2024 apparently due to an email sending issue on Defendant's
side of that communication.
17.    Additionally, in the days leading up to commencement of the instant case,
Defendants asserted to Plaintiff that Defendant made errors in conducting COBRA
compliance and that communications by Plaintiff to Defendant over the years were in
accordance with some kind of recognition of a COBRA plan. At no time did Defendant
ever inform Plaintiff of any COBRA availability, require Plaintiff to enroll in any COBRA
plan, or otherwise conduct any business related to Plaintiff being required to obtain
COBRA coverage of any kind. The health insurance benefits provided to Plaintiff as
contemplated in-suit were contractually promised by Defendant for which Plaintiff
provided significant post-employment consideration and for which Defendant is now in
material breach of its promises that have for years (and far beyond any COBRA period)
been detrimentally relied upon by the Plaintiff and his family.




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                          CLAIMS AND CAUSES OF ACTION:

  COUNT I - A CLAIM AND CAUSE OF ACTION FOR BREACH OF CONTRACT
   (Base, inter alia, on Defendant's Actual and Threatened Acts of Material Breach)

18.    In the interest of brevity and to not repeat material facts stated supra, Plaintiff
incorporates herein those facts already articulated that support and make out Plaintiff's
Count I for Breach of Contract. Of course, Plaintiff reserves the right to Amend this
pleading to include additional facts as the same are learned through appropriate
discovery to be engaged in between the parties in the normal course of adjudication of
this case.
19.    As mentioned in the above-stated material facts, a contract was formed on mutual
oral and written representations, promises, and covenants by the Parties, respectively,
and, in particular, Defendant made promises to Plaintiff to arrange, provision, and pay
for Plaintiff's health insurance benefits (at no cost to Plaintiff) including a full pallet of
health insurance benefits to Plaintiff his and the benefit of his family in August 2017.
Plaintiff maintained such health insurance benefits in full force and effect since the
contract formed between the parties was made mutually binding and effective in August
2017.
20.    In December 2023, Plaintiff learned on his own that Defendant engaged in a
clandestine plan and scheme to terminate and cancel Plaintiffs insurance policy and
corresponding benefits without any prior or any other notice to inform the Plaintiff of
Defendant's wrongful intentions. Plaintiff learned of such anticipatory and willful
breach of the Parties' contract upon accessing the BCBS-IL website and personal
dashboard of Plaintiff's online "Member Portal" associated with Plaintiff's health
insurance benefits. See Exhibit 2 (a copy of a website as printed by Plaintiff on January
26, 2024 showing coverage for Plaintiff and all of his immediate family members.
21.   While attempting to perfect a ruse to dupe Plaintiff into a false belief that
Defendant had some kind of concocted right to terminate Plaintiff's health insurance
benefits, Defendant wrote to Plaintiff on January 23, 2024 advising that it will continue
with its wrongful, malicious threat to terminate Plaintiff's health insurance benefits-a
writing representing a clear-cut manifestation of anticipatory material breach of contract
in contravention of law. See Exhibit 3.




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22.    Defendant's (anticipatory) material breach has caused harm, pain and suffering,
disruption to medical health coverage, disruption in services-in-progress and continues
to present a situation of clear and further irreparable harm for which Plaintiff has no
adequate remedy at law, no ability to obtain corresponding parallel-type replacement
coverage, no ability to maintain insurance benefits presently being used by Plaintiff (e.g.,
specialized diabetes care and management run though Plaintiff's health insurance
benefits) and his family members, and no ability to avoid further unwarranted
disruptions to Plaintiffs and the care of each of his family members-and certainly not
in a manner consistent with that level of health insurance benefits on which Plaintiff and
his family have detrimentally relied in managing their healthcare needs and care.
23.    Because Plaintiff and his family members are faultless and upon their good faith
reliance on Defendant's promises concerning Plaintiff's health insurance benefits,
Defendant should be held to continue to comply with its promises and covenants and to
do so and to contractually perform its contractual and other duties without cost to the
Plaintiff as has been the case as a direct result of the mutual promises and corresponding
consideration flowing between the parties upon formation of the Contract in-suit.
24.    Defendant's material breaches to date and its anticipatory material breaches
Defendant has and continues to threaten, Plaintiff has been harmed and is entitled to
remedies in connection with Defendant's material breaches and other wrongful conduct.

                                  PRAYER FOR RELIEF:

       Upon Plaintiff's Claims set forth above at the time of commencement of the
instant action, Plaintiff currently prays for the following relief:
              A. That Defendant be ordered to engage in specific performance of its
                 contractual obligations and duties in accordance with the Parties'
                 contract of severance formed in August 2017 and to continue to arrange,
                 provision and pay for all health insurance benefits for Plaintiff (without
                 cost to the Plaintiff) so as to benefit Plaintiff and all members of his
                 immediate family;

              B. That Defendant and its agents and representatives be ordered to forbear
                 and to not cancel or otherwise terminate Plaintiff's health insurance
                 benefits and without any disruption and/or interruption in service
                 already planned and/ or ongoing;

              C. That Plaintiff be awarded any and all costs of suit and reasonable
                 attorneys' fees as may be determined by the Court;


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              D. All injunctive and equitable relief the Court deems just and proper
                 under the circumstances; and

              E. All other relief deemed just and proper by the Court.

                    RESERVATION OF RIGHT TO A JURY TRIAL:

       Although Plaintiff is seeking only equitable and injunctive relief in this Court and
before a }IC-Judge-in-Chambers at the time of commencement of this lawsuit, Plaintiff
reserves the right to request trial by jury should the need and ability arise-such as in
connection with any claims for damages that may be asserted by the Plaintiff and/ or
counterclaims that may be wrongfully asserted by the Defendant in this case.
             It is therefore,




                                                       a
 149 Thurgood Street, Gaithers urg,    aryland 20878, Ph.




                                   VERIFICATION:

       I Erik B. Cherdak, do hereby swear and affirm under penalty of perjury that I have
read the foregoing pleadings and/ or papers by me subscribed and that the facts therein
stated are true to the best of my knowledge, information and belief. Additionally, I do
hereby correspondingly verify and swear and affirm under penalty of perjury that the
attached exhibits to this Complaint are true and accurate copies of the documents that
they purport to be (save for an          • • •     ••      d redactions of personally
identifying information of       •n .
                                ~¥----:.rQ




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                             Case 1:24-cv-00254-CJN Document 1-1 Filed 01/29/24 Page 19 of 36


  From: Alexander, Nicole Nialexander@mwe.com                                                                                 #
Subject: Pharmacy Vendor / Express Scripts
  DIiie: January 8, 2019 at 5:0S PM
    To: ebcherdak@grnail.com


      Erik, it was nice speaking with you. I have attached a temporary ID card and claim form for
      Express Scripts. Please provide your pharmacy with the temporary ID card and member ID#
      102244449524.

      Until you locate your ID card in your mail, please note that Express Scripts has a member
      portal via www.express-scrjpts.com >> register. After you register, you may view your ID card
      and view account history.


      NICOLE ALEXANDER
     TEMPORARY BENEFITS COORDINATOR
      McDermott Will & Emery LLP The McDermott Building, 500 North Capitol Street, NW, Washington. DC 20001-1531
      Te +1 202 756 8270                                              Fax +1 202 756 8087

      oialexander@mwe.com
      Wllllill. 1~                       1Dd111: IJ.mlllsal lllll!g



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      ...... . . . . . . .. . . . . . .. . . . . . . . . . . . . . . . . . . . .. . . . .. . . . . . . .. . ... .. . . .. 1 . . . . . . . . . . .. . . . . .. . . . ,. . . .. . .. . . .. . . . . . . . . .. . . . . . . . . . . . . . .. . .




      Please visit http:/Jv.ww.mwe.coml for more information about our Firm.




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         McDermott Will Manual Claim
                                                                         ~
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                 Case 1:24-cv-00254-CJN Document 1-1 Filed 01/29/24 Page 20 of 36


                                                                                                                    mwe.com




January 2, 2024

VIA EMAIL AND MAIL


ebcherdak@gmail.com

Erik Cherdak
149 Thurgood Street
Gaithersburg, MD 20878

Re:     Medical Coverage Expiration

Dear Erik:

We are writing in response to your recent inquiries regarding your medical benefits. This letter will serve as a
response to the inquiries you have submitted to McDermott Will & Emery LLP (the "Firm") regarding your
benefits under the Firm' s group health plan (the "Plan"). Under the Employee Retirement Income Security Act of
1974, as amended ("BRISA"), the Plan administrator must operate the Plan in accordance with the Plan' s legal
document.

As you may recall, you terminated employment with the McDennott Will & Emery LLP (the "Finn") on August
23, 2017. Upon termination, the Finn is obligated to offer you 18 months of coverage under COBRA and is not
obligated to extend the coverage beyond that period, unless you experience a second COBRA qualifying event,
which was not the case here.

In accordance with the Plan's terms, your post-termination medical coverage, under COBRA, should have ended
no later than February 28, 2019. As of March 1, 2019, you were not entitled to coverage under the Plan, through
COBRA or otherwise. For the reasons set forth herein and under applicable law and given that the Firm
discovered this error only recently, your coverage under the Plan is being terminated effective January 31, 2024.
This extension of coverage is not required by law and is an accommodation the Firm is making to give you an
opportunity to secure other coverage.

To assist you with finding other coverage before January 31, here are some resources that you can take advantage
of:

             •    Health Advocate - www.healthadvocate.com, 866-695-8622
             •    Maryland Health Connection - www.maiylandhealthconnection.gov 855-642-8572
             •    e-health - www.ehealthinsurance.com 888-212-6039




McDermott                       One Vanderbilt AventM N-York NY 10017-3852 Tttl +1 212 547 5400 Fax +1212547 5444
                                US practice conducted through McDermott 1,',11/ & Emery LLP.
Will & Emery
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Erik Cherdak
January 2, 2024
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This is a non-exhaustive list and the Finn makes no representations or warranties as to the availability of coverage
through these sources. You should consult with your own advisors as to the availability and tax consequences of
any coverage you may obtain.                 •

If you do not agree with the Finn' s interpretation of the Plan's terms, you may submit a formal claim for benefits
under the Plan. To do so, you must submit your claim for benefits in writing to the Plan administrator at 400 W.
Lake Street, Suite 4000, Chicago, IL 60606. The Plan administrator will process the claim and either approve or
disapprove it within 30 days ofthe date the claim is received If special circumstances arise, the Plan
administrator may extend its response deadline by 15 additional days. The Plan administrator's detenninations
shall be final and binding on all parties, except as otherwise provided by law.

Please let me know if you have any questions regarding the foregoing.

Sincerely,




Ruthlyn Alleyne
Director of Total Rewards

cc:    Chad Leonard
       Linda Doyle
       Kathleen Pearson




McDermott
Will & Emery
                  Case 1:24-cv-00254-CJN Document 1-1 Filed 01/29/24 Page 22 of 36


  From: Leon• d, Chad chad.leonard @mwe.com #
Subject: Response to your e mail
  Dete: January 23, 2024 at 4:13 PM
    To: Erik Cherdak ebcherdak@gmail.com
    Cc: Alleyne, Ruthlyn G. Ralleyne@mwe.com, Pearson, Kathleen kpearson@mwe.com, Doyle, Linda ldoyle@mwe.com


       Mr. Cherdak,

      Per the Firm's claim acknowledgment letter dated January 17, 2024, your questions are
      being reviewing in accordance with the claims and appeals rules of the Employee
      Retirement Income Security Act of 1974, as amended ("ERISA"). Absent a contrary
      determination on review under ERISA, your coverage will terminate effective January 31 ,
      2024, per the Firm's January 2, 2024 notice to you.

      In response to your document request, please find attached the BlueCross BlueShield
      booklet applicable to your medical coverage that you are entitled to under ERISA.

      As a reminder, you have until this Friday, January 26, 2024, to provide copies of any
      documents that support your claim of promises for indefinite post-termination medical
      coverage. Any questions can be included as part of any documentation that you provide.

      Best regards,

      Chad Leonard
      CHAD LEONARD, MS PHR CEBS
      Benefits Manager
      McDennott Will & Emery LLP 100 N. VVest Street, Suite 1400, Wilmington, DE 19801
      Tel +1 302 216 6536 • Email chad.leonard@mwe.com
      Yimlll l ~  l hdtw l l.lUdn




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      Please visit http://www.mwe.com/ for more information about our Firm.




                ~
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            IN THE SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA
                               CIVIL DIVISION
                              AT WASHINGTON

                                                     Case No.
Erik B. Cherdak                                                 - -- - - - -
149 Thurgood Street                                      PLEASE RUSH TO:
Gaithersburg, Maryland 20878                           JUDGE-IN-CHAMBERS
202.330.1994
ebcrne@me.com,                                     PLAINITFF'S COMBINED
                                              EMERGENCY MOTION AND BRIEF IN
      Plaintiff,                                     SUPPORT SEEKING
                                              A TEMPORARY RESTRAINING ORDER
      v.
                                               -EMERGENCY REVIEW REQUESTED-
McDermott, Will & Emery LLP
The McDermott Building                          -DEFENDANT HAS BEEN SERVED-
500 North Capitol Street, NW                  Contact Information for Defense Counsel:
Washington, DC 20001-1531202.756.8000                  Mr. J. Christian Nemeth
www.rnwe.com,                                     McDermott, Will & Emery, LLP
                                                           Ph. 312.984.3292
      Defendant.                                        E: jcnemeth@mwe.com


   PLAINITFF'S COMBINED EMERGENCY MOTION AND BRIEF IN
     SUPPORT SEEKING A TEMPORARY RESTRAINING ORDER

       In accordance with DC R. Civ. P. Rule 65, Plaintiff herein moves the Court on an
 EMERGENCY BASIS and herein applies for a Temporary Restraining Order (a "TRO")
and all appropriate and just equitable and injunctive relief necessary to stop the
Defendant from materially breaching a contract formed in 2017 binding between the
 parties and that provides that Defendant arrange, provision, and administer certain
health insurance benefits to Plaintiff and his family.     Defendant has threatened to
materially breached and has threatened to engage in additional material anticipatory
breaches of the parties' contract and to This Motion and application for a TRO has been
submitted along with a Complaint for Breach of Contract in the above-captioned action
commenced by the submission of that Complaint. Plaintiff herein incorporates by
reference the points of fact and authorities set out in Plaintiffs Complaint along with the
exhibits and their content as attached to that Complaint as if re-attached hereto. This
Motion has been VERIFIED in accordance with Rule 65 notwithstanding that Defendant
and its counsel have been notified and provided with copies of all filings related to this
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case. Counsel for Defendant, Mr. J. Christian Nemeth, has been served with all papers
submitted to the Court to date and he has represented that he will accept service of
process on behalf of the Defendant. See Exhibit A (Email from Mr. Nemeth dated January
25, 2024 indicating his consent to service in this case).
       Although the Court may grant the relief sought herein on an ex parte basis, Plaintiff
has corresponded with Defendant and its in-house counsel and other staff concerning
within the Defendant's organization about this case and Plaintiffs actions to commence
the instant lawsuit. Plaintiff has provided Defendant's Counsel's, Mr. J. Christian
Nemeth, contact information to the Court next to the caption of this Motion for a TRO
and in Exhibit A so that the Court, so as to facilitate a a virtual hearing. Plaintiff has
committed to Defense Counsel to keep them apprised of events and actions of the Court
in connection with this case in these nascent stages and certainly during the instant TRO
phase of the case to maintain the status quo. Plaintiff makes no representations as to
Defendant's positions than as otherwise alleged in Plaintiff's Complaint submitted
contemporaneously herewith. Additionally, Plaintiff discussed this Matter with Mr. Paul
Thom law clerk in this Court's JIC Office, in advance of filing and Plaintiff has been
instructed to inform JIC upon filing and will do so by email after such filing is perfected
electronically. The Court is informed that such electronic filing is intended to take place
on Friday, January 26, 2024 and shall include Plaintiff's Complaint with Exhibits 1-3, this
Motion for a TRO (on notice and service) attaching a PROPOSED ORDER, a Civil
Information Sheet, and all fees to be paid.
       Plaintiff respectfully requests the GRANTING of this Application for a TRO to
maintain the status quo until such time as the parties may be heard relative to their
respective positions in this case. A Proposed Order is attached. Plaintiff next addresses
the requirements for seeking a TRO/Preliminary Relief in this Honorable Court and in
accordance with law governing such applications:
                      INJUNCTIVE RELIEF IS NECESSARY
                  TO AVOID ADDITIONAL IRREPARABLE HARM
     A. Controlling Authority Governing TRO's and Preliminary Injunctive Relief
    DC R. Civ. P. Rule 65 mandates that this Court "The court may issue a preliminary
injunction only on notice to the adverse party." Alternatively, the Court may grant a TRO
without notice to an adverse party (i.e., ex parte). In this case notice of all filings and of
the actual dispute between the parties giving rise to the need for emergent injunctive


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relief is not in issue as Plaintiff has provided notice, copies of all papers filed in this Court
and is actively involved in notifying Defense Counsel of all events so that Defense
Counsel can participate in an emergent hearing that must take place sooner than later to
maintain the status quo and certainly before Wednesday. January 31. 2024 so as to
prevent immediate and irreparable harm from befalling on Plaintiff and the members of
his family by Defendant's wrongful materially beaching conduct to terminate Plaintiffs
contractually informed and established health insurance benefits under Defendant's
Group Health Insurance Plan operated through Blue Cross Blue Shield of Illinois.
       In District of Columbia v. Eastern Trans-Waste of Maryland, Inc., 758 A.2d 1, 14-15, 21
(D.C. 2000), for example, it was held that a party applying for preliminary injunctive relief
must demonstrate: "(1) that there is a substantial likelihood [Plaintiff] will prevail on the
merits; (2) that [Plaintiff] is in danger of suffering irreparable harm during the pendency
of the action; (3) that more harm will result to [Plaintiff] from the denial of the injunction
than will result to the defendant from its grant; and, in appropriate cases, (4) that the
public interest will not be disserved by the issuance of the requested order." ). (quoting
W ieck v. Sterenbuch, 350 A.2d 384, 387 (D.C. 1976)) (footnote omitted) (top-most quote
cleansed by Plaintiff and made to reference "Plaintiff" instead of pronoun "it" as used in
original text). Plaintiff next addresses those requirements in detail with reference to the
facts articulated and pleaded in Plaintiff's Complaint that have been incorporated herein
by reference.
    B. All Requirements for a TRO/Preliminary Injunctive Relief Favor the Plaintiff
          (1) Plaintiff will Prevail On the Merits of his Breach of Contract Claim
       As set out in Plaintiffs Compliant filed contemporaneously herewith, there is no
question that the Plaintiff has pleaded and will be able to prove the existence of an
executory contract of severance entered into and binding upon the Parties as of August
2017. That contract largely formed by the oral representations and actions by the parties
included promises by Defendant to provide uninterrupted health insurance benefits to
Plaintiff and his family at no cost to Plaintiff and upon good and valuable consideration
in the form of releases, forbearances, and agreements to remain silent as to matters
concerning in-office conduct committed by a member of the firm as flowing from Plaintiff
to Defendant. Until December 2023, and without any prior notice, Defendant took it upon
itself to arrange for the cancellation of Plaintiff's health insurance benefits that Defendant
was otherwise contractually and dutifully obligated to provide to the Plaintiff and his

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family on consideration of the mutual promises, covenants and representations and
actions by the parties in August 2017. Proof of the contract of severance and its terms
that Defendant, a multi-national law firm with dedicated HR professionals and
departments across the world, is also present in the actions and course of dealing between
the parties since August 2017 wherein Plaintiff and his family have received and relied
upon their firm-provided health insurance benefits since that time and until the present
without interruption, notwithstanding communications between the Parties concerning
such benefits, Plaintiff's and his family's use of those benefits, detrimental reliance,
forming of medical and other healthcare relationships involving specialized care and
installations of complex self-reporting healthcare tracking equipment communicating
with service providers over broadband and private networks on a daily basis and that
are installed in Plaintiff's home. Defendant had and has no contractual right to terminate
Plaintiff's contractually provided health insurance benefits that have never been
identified as "COBRA" benefits but, instead, as contractual benefits as part of a contract
of severance between and binding the Parties.
       As explained in detail in Plaintiff's Complaint, the contract binding the parties as
formed and entered into by the parties in person in Washington, DC in August 2017,
clearly and immutably established Defendants' executory obligation to arrange,
provision and ensure that Plaintiff (and his family) would be covered by Defendant's
Group Health Insurance Plan operated with Blue Cross Blue Shield of Illinois ("BCBS-
IL"). Plaintiff (and the members of Plaintiff's family) have been covered with said health
insurance benefits including for major medical, health, dental and related service
offerings (e.g., specialized programs and care including, but not limited to, specialized,
coached and managed preventative and educational diabetes care offered through
BCBSIL and its service partners (e.g., OMADA Diabetes and Health Management
Services). Plaintiff's health insurance is a very personal health care plan with particular
and special relationships orchestrated at Defendant's direction and through BCBS-IL and
include, for example and not by way of limitation, customized health-management
programs including relationships between Plaintiff and members of specialized care
teams that are now threatened with immediate disruption by Defendants announced
anticipatory breach of contract and threatened action to take away benefits that
Defendant is contractually obligated to provide to Plaintiff (and his family) at no cost to
the Defendant on consideration that flowed from the Plaintiff to the Defendant at the time

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the Parties formed and installed their arms' length agreement and binding contract. Each
and every day, Plaintiff is required to check in with his health coach at OMADA and to
provide health tracking and health metrics provided by OMADA and installed in
Plaintiffs home. Defendant's past and threatened breach of contract will immediately
sever Plaintiff's healthcare, terminate Plaintiff's health insurance benefits and otherwise
leave Plaintiff mid-care and observation with major health issues that are ongoing, are
complicated by Plaintiff's current orders to undergo surgery on February 8, 2024 at
Georgetown University Hospital ("GUH"), and otherwise. Because of the specialized
nature of Plaintiff's health insurance benefits, his clear reliance on the same to utilize his
health insurance benefits any act by the Defendant to interfere with Defendant's
healthcare such as by Defendant's announced and anticipatory breach will irreparably
harm Plaintiff and his family members that have all detrimentally relied on such
healthcare benefits to date. Such healthcare benefits as provided as dutifully and
contractually provided by Defendant have been consistently provided since August 2017
and at no time has Defendant indicated an intention to terminate or cancel Plaintiff's vital
health insurance benefits that Defendant knows are being relied upon daily and
consistently for more than four years without any interruption or fault caused by
Plaintiff.   Communications within the period from August 2017 to present and
exemplifying the fact that Plaintiff was and is covered under the health insurance benefits
to be contractually provided to Plaintiff by Defendant also are exemplified in Exhibit 1 to
Plaintiff' s Complaint- an email sent by Plaintiff to Defendant concerning health
insurance benefit plan details, insurance ID cards, etc. to which Defendant recognized the
existence of insurance coverage provided to Plaintiff and his family.
       At no time other than in December 2023 has Plaintiff learned that Defendant
sought to cancel or terminate Plaintiff's benefits and that Plaintiff's knowledge was
learned for the first time during a routine online visit to Plaintiff's BCBS-IL Member
Portal in December, 2023. Plaintiff immediately contacted Human Resources at
Defendant's Washington, DC office and a cascade of admissions and acknowledgements
of Plaintiff's health insurance benefits were made by Defendant's personnel that
ultimately resulted in Defendant assuring Plaintiff that his coverage should not be
terminated and that it would not be so and that the threatened termination would be
immediately rectified. It was not and now Plaintiff faces termination of benefits wholly
to benefit the Defendant while causing irreparable harm through anticipatory breach to

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take place on January 31, 2024---the date that Defendant has threatened to "pull the plug"
on Plaintiff's health insurance benefits originally contracted to exist and to be provided
by Defendant per the terms of their contract borne from Defendant's offer to provide such
insurance in exchange for certain valuable consideration flowing from Plaintiff to
Defendant including, but not limited to, releases of claims and causes of action as agreed
between the parties in oral communications in August 17, 2017. Again, at no time has
Defendant claimed to have no contractual obligation to provide Plaintiff and his family
with the health insurance benefits they have detrimentally relied upon since August 17,
2024. And, in keeping with the Parties' contract entered into in August 2017, Defendants
have never required Plaintiff to pay for his health insurance coverage as Plaintiff
conveyed good and valuable consideration
       On the facts and under canonical law of contracts applicable in this Court, Plaintiff
will certainly prevail on his breach of contract claim both on a theory of past material
breach and on a theory of material anticipatory breach such that Plaintiff is entitled to all
forms of relief justified under law - and at this time, emergent injunctive relief to ensure
the status quo and to prevent the Defendant from interfering with Plaintiff's and his
family's health care needs by wrongfully terminating Plaintiff's health insurance benefits
in dear violation of the contract that provides for the same and which the Defendant is
contractually obligated to provide to the Plaintiff.
       2. Plaintiff Will Suffer Immediate and Irreparable Harm Without a TRO
       In Point No. 1, supra, Plaintiff explains the health insurance coverage and benefits
that Defendant promised to provide under the parties' contract of severance entered into
by the Parties in August 17, 2023. Plaintiff's health insurance coverage is a very personal
and customized health care plan with particular and special relationships orchestrated at
Defendant's direction and through BCBS-IL and include, for example and not by way of
limitation, customized health-management programs including relationships between
Plaintiff and members of specialized care teams that are now threatened with immediate
disruption by Defendants announced anticipatory breach of contract and threatened
action to take away benefits that Defendant is contractually obligated to provide to
Plaintiff (and his family) at no cost to the Defendant on consideration that flowed from
the Plaintiff to the Defendant at the ti.me the Parties formed and installed their arms'
length agreement and binding contract. Each and every day, Plaintiff is required to check
in with his health coach at OMADA and to provide health tracking and health metrics

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provided by OMADA and installed in Plaintiff's home. Defendant's past and threatened
breach of contract will immediately sever Plaintiff's healthcare relationships, tenninate
Plaintiff's health insurance benefits and otherwise leave Plaintiff care-in-progress and
observation of major health issues that are ongoing be complicated by Plaintiff'.s current
orders to undergo surgery on February 8, 2024 at Georgetown University Hospital
("GUH"), and otherwise. Because of the specialized nature of Plaintiff's health insurance
benefits, his clear reliance on the same to utilize his health insurance benefits such as by
being encouraged by Defendant and BCBS-IL to form specialized relationship with
Medical and Healthcare Providers working in partnership with Defendant and BCBS-IL
(e.g., OMADA Corporation and its personally arranged healthcare coaches assigned to
Plaintiff) any act by the Defendant to interfere with Defendant's healthcare such as by
Defendant's announced and anticipatory breach will irreparably harm Plaintiff and his
family members that have all detrimentally relied on such healthcare benefits to date.
Such irreparable harm will result from immediate tennination of provider-relationships
between Plaintiff and his care teams, disrupt surgical plans and courses of treatment that
have been in place and which are ongoing, disruption of critical care for life-altering
medical conditions (e.g., stroke, cancer, and diabetes), and will cause Plaintiff to be
unable to obtain corresponding replacement insurance that preserves vital patient-
doctor-provider relationships built over years and especially with several departments at
GUH, to be prevented from maintaining ongoing care and healthcare management
provided at Defendant's direction and through BCBS-IL and its partners (e.g., OMADA,
etc.), etc. Plaintiff's surgeon's office advised Plaintiff on January 25, 2024 that Defendant
working through BCBS-IL had arranged to notify GUH billing that Plaintiffs Insurance
had been tenninated and that no further claims could be made on Plaintiff's health
insurance coverage after January 31, 2024-Plaintiff has spent months preparing for
surgery on February 8, 2024 and has been forced to deal with the consequences of
Defendant's threats of and actual material breaches of the Parties' contract formed on
August 17, 2017 while simultaneously attempting to manage through relational
destruction directly caused by Defendant's material breaches and threatened continued
acts to material breach the Parties' contract and Defendant's contractual duties and
obligations owed to Plaintiff and his family.
       In determining whether to grant preliminary injunctive relief (e.g., a TRO, a
Preliminary Injunction or any other equitable order prior to an full and fair opportunity

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to adjudicate a case on its merits), it has been recognized that: "While it is fundamental
to the granting of an injunction that the court make specific findings on all prerequisites
for such relief, the most important inquiry is that concerning irreparable injury. This is
true because the primary justification for the issuance of a preliminary injunction "is
always to prevent irreparable injury so as to preserve the court's ability to render a
meaningful decision on the merits." Canal Authority v. Callaway, 489 F.2d 567. 576 (5th Cir.
1974). An injunction should not be issued unless the threat of injury is imminent and well-
founded, and unless the injury itself would be incapable of being redressed after a final
hearing on the merits.") Wieckv. Sterenbuch, 350 A.2d 384, 387-88 (D.C. 1976). Here, there
is no way to fully determine the levels and extents of the irreparable harm that will befall
upon the Plaintiff if Defendant is not stopped and enjoined from terminating Plaintiff's
health insurance benefits and coverage for which he contractually and on which he
detrimentally relied (after he gave good and valuable consideration to allow Defendant
to avoid significant litigation and claims. No money can buy a health insurance policy
like the Plaintiffs as offered and utilized by Plaintiff and his family to date. And no
amount of money can re-create the relationships with medical and healthcare providers
that were encouraged and arranged by Defendant in partnership with BCBS-IL such as
those that managed by care-team providers at OMADA through partnership with BCBS-
IL and in combination with Doctors and staff at Howard University Hospital (with
automatic diabetes management, monitoring and blood glucose and insulin usage
reporting passively with no action required by Plaintiff) and Georgetown University
Hospital that is currently relying on Plaintiff's health insurance benefits and coverage as
provided by the Defendant and which is now be threatened to be abruptly terminated
without cause, without breach by the Plaintiff, and in willful, fraudulent violation of the
Parties' contract in which Defendant agreed at arm's length to provide such benefits for
the good and valuable consideration it received from the Plaintiff in August 2017.
       Plaintiff's healthcare benefits dutifully and contractually provided by Defendant
have been so consistently provided since August 2017 and at no time has Defendant
indicated an intention to terminate or cancel Plaintiff's vital health insurance benefits that
Defendant knows are being relied upon daily and consistently for more than four years
without any interruption or fault caused by Plaintiff. And, also at no time, has Defendant
given a reason (in any contemporaneous writing to the Parties' August 2017 contract or
otherwise) for a demonstration of why and under any specifically binding legal construct

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providing a contractual ability to seeks to materially breach the Parties' contract of
severance and to terminate Plaintiff's and his family's health insurance benefits and
coverage.   Instead of any sound explanation, Defendant has disingenuously and
fraudulently sought to throw-up stories and tales of "mistake" and a meritless claim that
Plaintiffs contractual right to his insurance benefits will be treated as some kind of denial
of substantive service coverage under Plaintiff's insurance policy, benefits, coverage for
which no ERISA or other law is applicable. Defendant has engaged in bad-faith and
comes here after attempting to dupe the Plaintiff into believing that Defendant has some
kind of authority to cancel and terminate Plaintiffs health insurance benefits and claims
when, in fact, Defendant has no such authority and, to the contrary, is contractually
bound to provide Plaintiff and his family with such health insurance benefits and
coverage. This Court should not countenance willful and material breaches of contract
when the Defendant has acted with unclean hands and to use ridiculous, untruthful
claims to threaten Plaintiff and his family with immediate and irreparable harms.
      3. The Balance of the Hardships/Harms Clearly Leans in Plaintiff's Favor
       As demonstrated by the actions of the parties in December 2023, when Defendant
was alerted to Plaintiff's .knowledge of Defendant's clandestine acts to arrange for
termination of Plaintiffs health insurance benefits then as of December 31, 2023,
Defendant turned around "flicked a switch" and reinstated Plaintiffs health insurance
benefits without any gap in insurance. Defendant now threatens again to "flick" the same
switch and terminate Plaintiff's insurance benefits as a material breach and for such
termination to become effective on January 31, 2024. Defendant already agreed by
contract to provide Plaintiff and his family with health insurance coverage at no cost to
Plaintiff on an ongoing basis and upon Plaintiff having conveyed good and reliable
consideration in exchange for the provision of such health insurance benefits and
coverage. Defendant's material breach and anticipated material breach and Defendant's
ability to prevent such insurance termination is wholly and completely in control of the
Defendant and beyond any say by the Plaintiff. On balance, Plaintiff's irreparable harm
(explained supra) by Defendant's wrongful and material contractual breaches that it has
threatened to continue is far outweighed by Defendant being prevented from flicking any
switch in some computer system that controls Plaintiffs insurance benefits and coverage.
Plaintiff posits that Defendant will not be harmed in any way by being ordered to
maintain the status quo and to retain Plaintiff on the active rolls of Defendant's health

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insurance plan as administered on behalf of BCBS-IL.           The balance of the harms
completely weighs in favor of the Plaintiff with the Defendant being unable to assert any
harm and certainly not any such harm that could even be mitigated by security imposed
by this Court-as Defendant is required to pay for and provide Plaintiff with his
contractually promised health insurance benefits and coverage at no ongoing cost to
Plaintiff in any way. The status quo must be maintained while the Parties' prepare for a
full and complete hearing on the merits of this case and after due and proper discovery.

           4. The Public's Interest Favors the Granting of Injunctive Relief

       There can be no question that contracts of all kinds and especially those directly
affecting the medical and health care of people party to such contracts. The contract in-
suit is one establishing duties of the Defendant to arrange and provide health insurance
benefits and coverage to Plaintiff (and his family). That contract has been in place for
more than five years and should not be breached by either of its parties. The public has
a compelling interest that court's honor, uphold, and enforce contracts generally and,
according to Plaintiff, a special duty to ensure that contracts providing for healthcare are
enforced to their terms and to avoid the kinds of immediate and irreparable harm faced
by Plaintiff and his family as a result of the acts of material breach by Defendant to date
and which are compounded by threats of future material breaches that, left unchecked,
will lead to the irreparable harms contemplated and discussed herein and that will
absolutely befall on the Plaintiff and his family should the Defendant be allowed to
materially breach the Parties' contract, to run afoul of Defendants' covenants and
contractual obligations and duties, and, more generally, to disrupt the private relations
among folks party to contract on Defendant's own whims. The Public interest is best
served by GRANTING emergent injunctive relief to ensure that no further irreparable
harm is caused by the Defendant to befall on Plaintiff and his family nor to make a
mockery of promises to provide health insurance coverage on which folks in our
community rely and make important life-altering decisions affecting their health and
medical care with the providers of their choice.
      IN CONCLUSION, Plaintiff respectfully request that this Honorable Court
GRANT this his application for a TRO on facts dearly favoring such emergent injunctive
relief. This Motion and all associated papers attached to and which this Motion has been
attached have been served on Defendant's Counsel as per agreement of the parties.

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Telephone numbers and email addresses to reach the Plaintiff and Defense Counsel are
repeated below the signature block that follows. A Proposed ORDER for the Court's
Review also is attached.
               It is therefore,

                                                                            -
                                             ak       Da                oPt,
 149 Thurgood Street, Gaithersbur           land 20878, Ph.          4, ebcme@me.com

               CONTACT INFORMATION FOR THE PARTIES
        FOR PURPOSES OF AN EMERGENT HEARING AND OTHERWISE:
 For the Plaintiff (Pro Se):                  For the Defendant:
 Telephone: 202.330.1994                      Telephone: 312.984.3292
 Email: ebcherdak@gmail.com                   E: jcnemeth@mwe.com

                                        VERIFICATION

       I Erik B. Cherdak, do hereby swear and affirm under penalty of perjury that I have
read the foregoing pleadings and/ or papers by me subscribed and that the facts therein
stated are true to the best of my knowledge, information and belief. Additionally, I do
hereby correspondingly verify and swear and affirm under penalty of perjury that the
attached exhibits to this Complaint are true and accurate copies of the documents that
they purport to be           for an,:l,o?"'"'...     iden • •       • ns of personally
identifying inform on o
                            ~•~I---+--,;:·~·:s....--




                                  CERTIFICATE O SERVICE
       I, Erik B. Cherdak, do hereby certify that on January 26, 2024, I caused a copy of
this paper (with exhibits, if any) to be sent to the following person by email as agreed
between the parties.
       Mr. J. Christian Nemeth
       McDermott, Will & Emery, LLP
       Ph. 312.984.3292
       E: jcnemeth@mwe.com
       333 SE 2nd A venue, Suit
       Tel +1 312 984 3292 I W K ) ~~




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  From: Nemeth, J. Christian jcnemeth@mwe.com ~
Subject: Fwd: Response to your email
  Date: January 25, 2024 at 7:08 AM
    To: ebcherdak@gmail.com
    Cc: Rogaczewski, Joshua jrogaczewski@mwe.com

      Erik, I am authorized to accept service on behalf of McDermott. Thanks.

      CHRISTIAN NEMETH
      Partner
      McDermott Will & Emery LLP 333 SE 2nd Avenue, Suite 4500, Miami, FL 33131-2184
      Tel +1 312 984 3292 Mobile +1 773 870 0323 1 Emafl jcnemeth@mwe.com

      McDermott Will & Emery LLP 444 West Lake Street, Suite 4000, Chicago, IL 60606-0029
      Email jcnemeth@mwe.com
      Website I ~    I Iwi.ntr I Linkedln




                                            EXHIBIT A
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            IN THE SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA
                               CIVIL DIVISION
                              AT WASHINGTON


Erik B. Cherdak
149 Thurgood Street
Gaithersburg, Maryland 20878
202.330.1994
ebcrne@me.com,                                        Case No. - - -- - - -
      Plaintiff,
                                                              [PROPOSED]
      v.
                                                               ORDER
McDermott, Will & Emery LLP
The McDermott Building
500 North Capitol Street, NW
Washington, DC 20001-1531202.756.8000
www.mwe.com,

      Defendant.


       Before the Court is Plaintiff's Motion and application for a Temporary Restraining
 Order (a "TRO") filed on an emergency basis. For good cause shown in Plaintiff's moving
 papers and especially on a finding that Plaintiff has demonstrated a threat of immediate
 and irreparable harm and all other requirements applicable for granting temporary
 injunctive relief, the Motion is GRANTED and the Court ORDERS as follows:
       1. The TRO entered hereby shall last from _ _ _ _ _ at __AM/PM until
            _ _ __ _ _ _ __ at _AM/PM (the "term" of this ORDER);
       2. Defendant and its agents and all those acting in concert with Defendant shall
          be temporarily restrained from taking any action to cancel and/ or terminate
            Plaintiffs health insurance benefits and coverage administered by Defendant
             and carried through BCBS-IL and any of its partner providers or take any
             actions inconsistent with normally maintaining Plaintiffs health insurance
            benefits and coverage so as to keep Plaintiffs health insurance benefits and
            coverage in full force and effect during the term of this ORDER or until further
            ORDER of the Court per appropriate scheduling between the Parties and the
            Court; and



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3. The Oerk of this Court is direct to schedule a merits hearing on Plaintiff's
   Motion to take place within no more than 14 days of entry of this ORDER and
   before the termination of the term defined herein has expired.
      IT IS SO ORDERED.




                                        Superior Court Judge




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